Case 17-90114-CL Filed 05/24/17 Entered 05/24/17 15:28:45 Doc1 Pg.1o0f13

B104 (FORM 104) (08/07)

 

ADVERSARY PROCEEDING COVER SHEWT ED

ADVERSARY PROCEEDING NUMBER

 

 

(Instructions on Reverse) 29) Mg 24 (Court Use Only)
PM
PLAINTIFFS yy & 8 A age te TS Da MILO Geronimo Ane Se
JNoer Prys ST. ge gS cr Svea Furiko komok|
ATTORNEYS (Firm Name, Address, and Telephone No.) | ATTORNEYS (If Known)

Nicholas M. WAIDA

 

PARTY (Check One Box Only)

o Debtor a U.S. Trustee/Bankruptcy Admin
Creditor co Other
oO Lrustee

 

PARTY (Check One Box Only)
Debtor 0 US. Trustee/Bankruptcy Admin
a Creditor D Other

O Trustee

 

CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)
DEBT ARoSE FROM conOUCT INVOLVING EGREGIOUS CIRCUMSTANCES
TRUSTEE HAS ALL EVIDENCE OF CONDUCT OF DEBTOR
FALSE INFORIMTION ON THe BE FILED

 

NATURE OF SUIT

(Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)

 

FRBP 7001(1) — Recovery of Money/Property

11-Recovery of money/property - §542 turnover of property
C] 12-Recovery of money/property - §547 preference

13-Recovery of money/property - §548 fraudulent transfer
O 14-Recovery of money/property - other

FRBP 7001(2) ~ Validity, Priority or Extent of Lien
21-Validity, priority or extent of lien or other interest in property

FRBP 7001(3) — Approval of Sale of Property
C 31-Approval of sale of property of estate and of a co-owner - §363(h)

FRBP 7001(4) — Objection/Revocation of Discharge
2) 41-Objection / revocation of discharge - §727(c),(d),(e)

FRBP 7001(5) — Revocation of Confirmation
51-Revocation of confirmation

FRBP 7001(6) — Dischargeability
O 66-Dischargeability - §523(a)(1),(14),(14A) priority tax claims
62-Dischargeability - §523(a)(2), false pretenses, false representation,
actual fraud
C 67-Dischargeability - §523(a)(4), fraud as fiduciary, embezzlement, larceny

(continued next column)

FRBP 7001(6) — Dischargeability (continued)
61-Dischargeability - §523(a)(5), domestic support
oH 68-Dischargeability - §523(a)(6), willful and malicious injury
CJ 63-Dischargeability - §523(a)(8), student loan
C 64-Dischargeability - §523(a)(15), divorce or separation obligation
(other than domestic support)
C 65-Dischargeability - other

FRBP 7001(7) ~ Injunctive Relief
7\-Injunctive relief — imposition of stay
CO 72-Inyunctive relief — other

FRBP 7001(8) Subordination of Claim or Interest
81-Subordination of claim or interest

FRBP 7001(9) Declaratory Judgment
C 91-Declaratory judgment

FRBP 7001(10) Determination of Removed Action
01-Determination of removed claim or cause

Other

O SS-SIPA Case ~ 15 U.S.C. §§78aaa et.seq. :

J 02-Other (e.g. other actions that would have been brought in state court
if unrelated to bankruptcy case) ,

 

C Check if this case involves a substantive issue of state law

cl Check if this is asserted to be a class action under FRCP 23

 

o Check if a jury trial is demanded in complaint

 

 

 

Other Relief Sought

Demand $ 11, 466.23 + INTEREST

owe

 

 

Gouce Come AL
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B104 (FORM 104) (08/07), Page 2

 

BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES

 

 

 

 

 

 

 

NAME OF DEBTOR ~ BANKRUPTCY CASENO. », |
Danio Geeonrmo Ana Je | sven Fusivo Pomp) ig-O7775 -CLI3
DISTRICT IN WHICH CASE IS PENDING DIVISION OFFICE NAME OF JUDGE
RELATED ADVERSARY PROCEEDING (IF ANY)
PLAINTIFF DEFENDANT ADVERSARY
PROCEEDING NO.
DISTRICT IN WHICH ADVERSARY IS PENDING DIVISION OFFICE NAME OF JUDGE

 

 

 

SIGNATURE OF ae oe)

—\ oO

 

 

DATE PRINT NAME OF ATTORNEY (OR PLAINTIFF)

5/24/19 \oer Prys

 

 

INSTRUCTIONS

The filing of a bankruptcy case creates an "estate" under the jurisdiction of the bankruptcy court which consists of
all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also may be
lawsuits concerning the debtor’s discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary
proceeding.

A party filing an adversary proceeding must also must complete and file Form 104, the Adversary Proceeding Cover
Sheet, unless the party files the adversary proceeding electronically through the court’s Case Management/Electronic Case
Filing system (CM/ECF). (CM/ECF captures the information on Form 104 as part of the filing process.) When completed,
the cover sheet summarizes basic information on the adversary proceeding. The clerk of court needs the information to
process the adversary proceeding and prepare required statistical reports on court activity.

The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings
or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self-
explanatory, must be completed by the plaintiffs attorney (or by the plaintiff if the plaintiff is not represented by an
attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.
Attorneys. Give the names and addresses of the attorneys, if known.

Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.
Demand. Enter the dollar amount being demanded in the complaint.

Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the

plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented by an
attorney, the plaintiff must sign.

 
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CSD 3001 [04/28/96]
Name, Address, Telephone No.

Joer Prys
7275 Stank dt Ave
La Mesa, CA A442

(AA) 347-IZLL6

& I.D. No.

 

UNITED STATES BANKRUPTCY COURT

SOUTHERN DISTRICT OF CALIFORNIA
325 West F Street, San Diego, California 92101-6991

FILED
2017 MAY 24, PM 3: 30

 

In Re

Danilo Geronimo Ang Jr
Svea Furi ko Koma

Debtor.

BANKRUPTCY NO.

I@-@®7775 -CLi3

 

Joe PLys

Plaintiff (s)

ADVERSARY NO.

 

Vv.

Den: lo Gevon rae Ang Jr
Svea Fuji ke (Comers

Defendants (s)

 

[add
Date
Time
Name

if filed in response to hearing}
of Hearing:

of Hearing:

of Judge:

 

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CSD 3001
Case 17-90114-CL Filed 05/24/17 Entered 05/24/17 15:28:45 Doc1 Pg.4of13

BK 16-07775-CL 13 Adversary Proceeding Cover Sheet:
To Whom It May Concern:

This is our official complaint to challenge dischargability for the item listed on
form 106E/F, Part 2, section 4.3

| am Joel Plys, a pro se litigant, seeking an extension of the deadline to file this
complaint since the meeting of creditors has been continued five times: February
3, April 24, May 15, May 22, and now June 19°".

it was my understanding that | could attend the meeting of creditors and bring up
my concerns and issues with this bankruptcy filing to the trustee in hopes it would
not be confirmed. | now understand that this is not the role of the trustee and
that the adversary proceeding must be filed to make that decision. | am
requesting that the deadline to file this be adjusted accordingly with the moving
meeting of creditors.

As you will see from my proof of claim and other discrepancies listed on this
bankruptcy that Dan Ang and Svea Fujiko Komori are attempting to avoid paying
the judgment granted to my family for his 3 months of harassment.

Please do not let them get away with this and have the claim be moved to a
secured status. Dan Ang should be held accountable for his actions and make
the necessary payments required since debts for willful and malicious injury are
morally distinguishable from other types of debt deserving of discharge. Plus the
acts & conduct displayed by Svea for her businesses is highly suspect as well as
other fraudulent items listed in this bankruptcy claim.

| ask that you take all this into consideration in granting the adversary hearing for
this bankruptcy.

Sincerely, SJ )

Joel Plys
(619) 347-9366

 
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BK 16-07775-CL 13 Adversary Proceeding Cover Sheet:

Nature of Suit 1 — 523(a)(6) Willful, Malicious act
(6) for willful and malicious injury by the debtor to another entity or to the property of another
entity

My proof of claim was filed on January 24, 2017, which includes full
documentation of the willful and malicious acts done by Dan Ang against my
family. 3 months of harassing text messages from fake VoIP numbers were
documented and provided to the La Mesa PD. Dan Ang texted me for 3 months
accusing my wife of adultery, calling her a whore and that my soon to be born
daughter was not mine. Dan was also texting college women with harassing
messages.

The proof of claim shows:
* The 3 small claims judgments
¢ Restraining Order Ruling
¢ Criminal Case plea of guilty
e LaMesa PD report of criminal case
¢ List of harassing text messages
¢ Full listing of harassmentiies by Dan Ang

Once caught, Dan Ang plead guilty to the detective and a restraining order was
granted on November 18". It was suggested that we go to small claims to
recuperate our losses for this time of harassment. Dan Ang tried 3 separate
appeals — the final smail claims judgment adding $1,446.23 for an appeal in bad
faith. The total due in this settlement is $11,446.23. The maximum amount that
can be allowed in small claims settlement was approved on December 20", 2016
plus the appeal in bad faith amount.

That amount is the only nonpriority unsecured claim listed on their BK that is for
willful and malicious injury. These debts are morally distinguishable from other
types of debt deserving of discharge under 523(a)(6). You will see in Nature of
Suit 3 that they can afford this in their 5-month plan since Svea makes more than
what was listed in the plan.

| am also adding to this documentation that | am seeking a renewal of the RO
and a court date was granted for the evidence | presented to Judge Tamila E.
lpema. Dan Ang already skipped the first court date on May 19 — avoiding the
service of papers, yet his lawyer contacted ours asking if he would be in
attendance a few days prior. The hearing was continued to June 2™ assuming
the sheriff is successful in serving Dan Ang. This has been an issue in the past
despite having professional service used and Dan Ang denying the service of
papers. He will eventually be served and held accountable again for his actions.

The appeal in bad faith and the granting of a renewal court date should tell you
the type of people we are dealing with for this bankruptcy. We hope that the
checks and balances for bankruptcy will also keep Dan Ang accountable for his
behavior.
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BK 16-07775-CL 13 Adversary Proceeding Cover Sheet:

Nature of Suit 2 — 727(c)(2) - acts & conduct
(c)(2) On request of a party in interest, the court may order the trustee to examine the acts and
conduct of the debtor to determine whether a ground exists for denial of discharge.

The proof of claim shows the full list of harassment/lies done by Dan Ang in this
process. This bankruptcy is just another example of this egregious behavior.

The trustee has full documentation of the acts & conduct of Svea Ang in her
dealings with Dancing Bear Indian Trader. Svea has worked here since 2007
and was listed in several places as co-owner/manager. All of these issues are
listed in detail under Nature of Suit 3
Case 17-90114-CL Filed 05/24/17 + Entered 05/24/17 15:28:45 Doc1 Pg. 7of13

BK 16-07775-CL 13 Adversary Proceeding Cover Sheet:
Nature of Suit 3 — 523(a)(2) — Fraudulent

Fraudulent information is on the following sections:
¢ Form 106 A/B p.3 part 13
o The Ang’s own 2 dogs and 1 cat (Pepper, Bambi, and Wicket)
o NO is marked in this section. Why lie?

¢ Form 106 E/F p.2 of 3 part 4.3

o Small Claims for settlement on harassment charge completed on
December 20" 2016, not 2015 as listed
*** perhaps Dan is putting 2015 down which is when the
harassment was happening

o Amount is $11,466.23, not $10,000 as listed

o This settlement cannot be disputed as listed — this was Dan Ang’s
3" and final continuation attempt. The max granted for small
claims is $10,000 — note that $1,466.23 was awarded for an appeal
in bad faith

¢ Form 107 p.3 part 4
o Smail Claims settlement complete on December 20", 2016 — this is
concluded, not pending as listed

* Form 106A/B p.1 Part 1.1
o Current value listed as $269,181.00
o In 2005 Svea refinanced with 2 loans of $268,000 & $33,400 =
$301,400
o Current Zillow listing shows as $274,107 — EXHIBIT A

¢ Form 106A/B p.2 Part 3.1 and Form 106D p.2 of 3 Part 1 —2.4
o The Honda is listed for Debtor 1
o This car is registered to Svea (Debtor 2) and Christine Tracy
o Christine Tracy should be listed as a co-debtor on form 106H

¢ Form 1061 p.1

o Numerous accounts of Svea listing herself as Co Owner/Manager
of Dancing Bear Indian Trader — evidence submitted to Trustee

o Svea stated under oath at meeting of creditors on May 22, 2017
that she removed social media listings of her as manager — see
Exhibit B.1 & B.2 showing her listed as OWNER on the Dancing
Bear Indian Trader ETSY account on May 23, 2017
*** why is Christine Tracy not listed?

o Svea stated under oath at meeting of creditors on May 22, 2017
that from Dancing Bear she receives approx. $700 every 2 weeks =
$1,400/month --- the amount listed on this plan is $460/month

o Svea does not have Bellpepper Fabrics listed as she does on form
122C-1 p.5
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BK 16-07775-CL 13 Adversary Proceeding Cover Sheet:
Nature of Suit 3 continued — 523(a)(2) — Fraudulent

¢ Form 107 p. 1 & 2 Part 2
o Svea, under oath on May 22, 2017 states that she makes
$1400/month — this would be $16,800/yr. Under wages,
commissions, bonuses, tips Svea lists:
® Current/2016 amount provided is $7,100
*« 2015 amount provided is $3,345.00
« 2014 amount provided $3,125.00

o Svea also lists income for operating a business — Bellpepper
Fabrics 6 month average from Form 122C-1 is $371.33/month
($4,455.96/year)

» Current/2016 Gross Income $4,456.08
= 2015 GI = $4,518.00
* 2014 GI = $17,488.00
¢ Is 2014 business Bellpepper or another business
entity? The Gl is almost 4Xs the average listed for
2015 & 2016

* Form 122C-1 p.5
o Stated under oath at meeting of creditors on May 22, 2017 that she
receives approx. $700 every 2 weeks = $1,400/month --- the
amount listed on this plan is $460/month
~Case 17-90114-CL pee” Entered 05/24/17 15:28:45 Doc1 Pg.9o0f13 4 |

| Notice of Hearing to Renew ark Stamps Cale here When form 1s Med.
CH-710 _. |
Restraining Order ; 1)
: KILLED

 

 

 

 

(4) Protected Person $AN DIEGO SUPERIOR COURT
a. Your Full Name: Toe L Piys MAY 12 2017
Your Lawyer (if you have one for this case): Gierk of the Superior Court
Name: State Bar No.: ay: L, Pena-Sanehez
Firm Name:

 

 

b. Your Address (Ifyou have a lawyer, give your lawyer’s

: . Fill in court name and street address: _
information. If you do not have a lawyer and want to keep your

 

 

 

 

 

 

 

 

 

 

 

 

 

home address private, you may give a different mailing address Superior Court of California, County of
instead. You do not have to give telephone, fax, or e-mail.): oN Ww rae
. Broadway

Address: 7275 Stanford Ave San Diego, CA 92101

city: La Mesa State: CA Zip: 41442 | CENTRAL

Telephone: gI4-S ; I - 4 GO Fax: x Court fills in case number when form is filed.

E-Mail Address: 422 | e 2p ly Swi AG LOM Case Number: %

(2) Restrained Person 37-2015-0002255f0- CU-HR-CTL
Full Name: Dan Q NG JwoRK:| 3946 Pacific Masa CT
’ Address (if known): (i8GG@ S.Mapie St #266 San Diego, cA Ii)

City: SarBiego ESCONDIDO State: CA Zip: T2025

To the Restrained Person
Court Hearing

The judge has set a court hearing date. Court will fill in box below.

 

The current restraining order stays in effect until the end of the hearing.

Name and address of court if different from above:
. DateJUN 02 2017 Time: 8:30 AM
Hearing
(Kenn)? Dept.: 64 Room:

 

 

 

 

 

 

 

 

At the hearing, the judge can renew the current restraining order for up to another five years. You must continue to obey
the current restraining order until the hearing. At the hearing, you can tell the judge if you do not want the order against
you renewed. If the restraining order is renewed, you must obey the order even if you do not attend the hearing.

If you wish to make a written response to the request to renew the restraining order, you may fill out form CH-720,
Response to Request to Renew Restraining Order. File the original with the court before the hearing and have someone
age 18 or older—not you—mail a copy of it to the protected person at the address in(A) at least 2 __ days before the
hearing. Also file form CH-250, Proof of Service of Response by Mail, with the court before the hearing.

This is a Court Order.

Judicial Council of Califomia, .courtS.ca. ‘ 2 se
Revised January 1.2016 Mandatey Form © Notice of Hearing to Renew Restraining Order CH-710, Page 1 of 2

Code of Civil Procedure, § 627.64) (Civil Harassment Prevention) >

 
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Case Number:
37-2015-000225550- CU-HR-CTL

 

 

 

 

 

To the Protected Person:

(4) Service and Response

Someone age 18 or older—not you or anyone else protected by the restraining order—must personally serve
(give) a copy of the following forms on the restrained person at least 5 days before the hearing.

* CH-700, Request to Renew Restraining Order;

* CH-710, Notice of Hearing to Renew Restraining Order (this form);

* CH-720, Response to Request to Renew Restraining Order (blank copy);

* CH-130, the current Civil Harassment Restraining Order After Hearing for which renewal is requested.

After the restrained person has been served, file form CH-200, Proof of Personal Service, with the court clerk. For
help with service, read form CH-200-INFO, What Is “Proof of Personal Service”?

pa, MAY 12 201 Aah. E fotinca—
ate: 4 TAMILA BPE

Judicial Officer

| Request for Accommodations

Assistive listening systems, computer-assisted real-time captioning, or sign language
interpreter services are available if you ask at least five days before the hearing. Contact
the clerk’s office or go to www.courts.ca.gov/forms for Request for Accommodations by
Persons with Disabilities and Response (form MC-410). (Civ. Code, § 54.8.)

 

CLERK'S CERTIFICATE

\ The foregoing document, consisting of
Y_ pageis), is a full, true, and correct
| copy of che original copy on file in
i this office.

i J Clerk ofthe Superior Gourt
/G-A2-V1 4, ¥.
Pate Debuy" S. Goodrich

This is a Court Order.

Revised January 1, 2016 Notice of Hearing to Renew Restraining Order CH-710, Page 2 of 2
(Civil Harassment Prevention)

 

 
EXHIBIT A

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